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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                               ***

6     THOMAS JUSTIN SJOBERG,                          Case No. 3:20-cv-00322-MMD-CLB

7                                 Petitioner,                        ORDER
            v.
8

9     ISIDRO BACA, et al.,

10                             Respondents.

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12         Respondents have filed a motion for enlargement of time (third request) (ECF No.

13   12). The Court finds good cause to grant the motion.

14         It is therefore ordered that Respondents’ motion for enlargement of time (third

15   request) (ECF No. 12) is granted. Respondents will have up to and including November

16   19, 2020, to file an answer or other response to the petition (ECF No. 1).

17         DATED THIS 21st day of October 2020.

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                                                MIRANDA M. DU
20                                              CHIEF UNITED STATES DISTRICT JUDGE

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